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UN|TED STATES D[STR|CT COURT
VVESTERN D|STR|CT OF N|lCHlGAN
SOUTHERN D|V|S|ON

DAN|EL VV|LLIAM RUDD,

P|aintiff,
v

THE C|TY OF NORTON SHORES e’c. a|.

Defendants.

HON. GORDON J. QU|ST
U.S. District Judge

Case No. 1118-cv-124

 

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DEFENDANTS BOLHOUSE, HOFST_E_§ & lVlCLEAN P.C., N|ICHELLE MCLEAN AND JOEL
BAAR’S REPLY BR|EF |N§UPPORT OF MOT!ON FOR JUDGN|ENT ON THE PLEAD!NGS

 

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l. lNTRODUCTION

Plaintiff’s response to the collective motions filed by the Defendants in this case primarily
and principally targets the Norton Shores Defendants. As it relates to the Bolhouse Defendants,
Plaintiff offers little in the way of legal support for his conclusory and vague allegations of
wrongdoing lnstead, Plaintiff appears to believe that because he said it in his complaint, it must
not only be true, but also sufficient to survive the pending motion. The reaiity is that what little
support Plaintiff does offer, actually favors, rather than disfavors, the Bolhouse Defendants’
position that Plaintiff’s Comp|aint does not, and cannot withstand the scrutiny imposed by Rule
12, The Bolhouse Defendants are generally satisfied With the law cited in their initial brief. They

offerthis brief reply in response to what little legal authority Piaintiff does cite in his response

I|. LAW AND ARGUNIENT
A. FlRST AMENDN|ENT RETAL|ATION

i. THE BOLHOUSE DEFENDANTS ARE NOT STATE ACTORS

Plaintiff loosely references an uncited and undeveloped body of law that he contends
requires criminal contempt proceedings to be initiated by a county prosecutor before a private
attorney is appointed to serve in the roie of a quasi-prosecutor. Fol|owing this logic then, Plaintiff
seems to contend for the first time that the Bolhouse Defendants were acting as prosecuting

attorneys, and therefore they must be liable as state actors

Plaintiff’s position is frivolous. lVlCR 3.606 permits a private party to initiate contempt
proceedings through the use of an ex parte motion. Specifica!ly, l\/|CR 3.606(A)(1) states that “for
a contempt committed outside the immediate view and presence of the court, on a proper showing
on ex parte motion supported by affidavits, the court shall order the accused person to show
cause, at a reasonable time specified in the order, why that person should not be punished for
the afieged misconduct.” lVlCR 3.606(A)(1). As the court of appeals in DeGeorge v. l/l/arheit, 276

Nlich. App. 587 (2007) observed, “lViCR 3.606(A) does not make a distinction between criminal

 

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and civil contempt Accordingly, because it is apparent that such an ex parte motion would
ordinarily, if not always, be brought by a party to a case against an opposing party and because
civil cases often involve only private parties, it is manifest that the l\flichigan Court Rules
contemplate that a private party (and by obvious extension that party’s attorney acting in a
representative capacity) may initiate and prosecute a motion to hold an opposing party in criminal

contempt.” ld. at 600_

Plaintiff’s contention that the Bo|house Defendants somehow transformed into prosecuting
attorneys is further evidence of the frivolous nature of Piaintiff’s claims, and of his desperation in
latching onto a legal argument that might convince this Court that anything other than judgment

on the pleadings is appropriate

ii. PLA|NTIFF’S lLLUSORY CLAINI OF CONSPIRAC¥ DOES NOT IN|POSE
STATE LlAB|LlTY ONTO THE BOLHOUSE DEFENDANTS

Plaintiff then falls back on his default argument regarding all parties and all claims, which
is essentially that he is the target of an unspoken conspiracy between all of the defendants to this
case and that conspiracy has caused him unspecified harm. Piaintiff appears to believe that
because he alleges that a conspiracy exists, the Court must accept it as fact and extend liability
onto the Bo|house Defendants as state actors P|aintiff relies on two cases that he contends
support his position. The first, Bart v. Telford, 677 F.2d 622 (7th Cir. 1982), involved claims brought
solely against various public ofhcials, specifically the mayor and three of his subordinates No
private action was alleged No private actors were named as defendants As such, Telford is

irrelevant to this Court’s consideration

Lil<ewise, the second case upon which Plaintiff relies, Backpage.com LLC, \/. Dart, 807
F.3d 229, 230 (7“' Cir. 2015) also aileges claims solely against public officials |n that case, the
lone Defendant was the county Sheriff, acting in his official capacity. lnterestingly, the Court in

that case went out of its way to note that “if ali the sheriff were doing to crush Backpage (p|aintiff)

 

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was done in his capacity as a private citizen, rather than as a government official, he would be
within his rights.” ld. As such, not only does Backpage fail to support Plaintiff’s position, it actually

cuts against it.

Plaintiff would have this Court believe that the Bo|house Defendants’ conduct came out of
left field such that it cannot be explained absent the existence of a conspiracyl Plaintiff ignores
the fact that the PPO in this case was validiy issued and was stiii in place at the time le. lv'leyers
filed her motion for an order to show cause. Plaintiff attaches a portion of the transcript from the
November 9, 2015 hearing that confirms as much. See ECF No. 73-4 at Page|D 581 (The Court:
“But there is a iegitimate protection order in piace, and it has provisions that are to be adhered

io_")

What is more is that Plaintiff has admitted that he did indeed attend the soccer game in
question while the PPO was in place VVhether such conduct should give rise to a finding of

contempt is secondary to the fact that such conduct is exactly what a PF’O is meant to deter_

P|aintiff cites no support that would suggest that the mere filing of a request for an order
to show cause why a party should not be held in contempt of a valid and subsisting personal
protection order, after they have admittedly violated that order, may give rise to the rare occasion
where a private party is charged with state action for purposes of a First Arnendment Reta|iation
claim. This case is the prototypical example contemplated by the Supreme Court in Ashcroft v.
iqbai', 556 U.S. 662, 680 (2009) that has failed to cross the line from conceivable to plausible

Accordingly, Plaintiff’s First Amendment retaliation claim should be dismissed
|l|. PLAlNT|FF’S ABUSE OF PROCESS CLA|N| FA|LS

One of the overarching problems with Piaintif“f’s Comp|aint is that even if his allegations
are true, he has not suffered any actual damages as a result of the harms afieged. He did not

lose custody of his children, he Was not incarcerated, he did not lose his job, he was not fined any

 

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amount of money, nor was he deprived of the use of any of his property. Plaintiff’s entire case is

an exercise in academia.

Certain|y, an argument could be made that statutory damages are available for some of
the claims alleged by Plaintiff, but abuse of process is not one of those claims Abuse of process
is a tort. See e.g. i/aflance v.`BreWt)aker, 161 lVlich. App. 642, 647 (1987). “Damages are an
essential element of any tort ciairn.” Krup,o v. Pro-Tech Auction, rnc., unpublished per curiam
opinion of the court of appeals dated February 12, 2009 (Docl<et No. 281066) (citing Lumfey v.
Univ. of Michr'gan Bd. Of F\’egents, 215 lVlich. App. 125, 130 (1996). The lVlichigan Court of
Appeals has applied this universal truth specifically to a claim for abuse of process “To state a
claim on the tort theory of abuse of process, a party must plead facts sufficient to establish
damages resulting from a party’s ulterior purpose and an act in the use of process that is improper
in the reguiar prosecution of the proceeding.” See Halr v Mittei'staedt, unpublished per curiam

opinion of the court of appeals1 dated September 6, 1996 (Doci<et Nos., 155583, 176872).

Plaintiff has honed in on the single discussion between himself and the Bolhouse attorneys
prior to the November 9, 2015 hearing as the basis for his abuse of process claim. This singuiar
discussion occurred within the context of PPO litigation that spanned the course of several years

Plaintiff was a willing participant in this discussion

Plaintiff’s Complaint loosely alleges that settlement discussions were had regarding his
continued harassment of attorney lV|elissa iVleyers. Plaintiff concludes however, that “Plaintitf
ultimately advised Joel Baar and l\)'licheile lVchean that this was completely inappropriate No
agreements were reached.” ECF No. 1 at PagelD 22, ‘[[ 100. Tal<ing Piaintiff’s allegations as
true, even if the Bo[house attorneys engaged in the conduct alleged1 no harm came of it. To be
sure, Judge Pittman certainly saw the wisdom in the Bolhouse attorneys’ approach The transcript
cited by Plaintiff reflects that Judge Pittman ORDERED the parties to mediation, to accomplish
the exact same goals that the Bolhouse Defendants had attempted to accomplish prior to the

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hearing. See ECF No. 73-4 at PagelD 583 (“the order of the Court is going to be that you, |Vlr.
Rudd, and you, |Vls. l\fleyers, would submit to mediation services.") lndeed, P!aintiff does not cite
one single case that would support his position that vague and uncertain settlement discussions
that did not ultimately lead to a settlement agreement and did not even produce a concrete
settlement offer, could rise to the level of abuse of process sufficient to survive the pending

motion.

Plaintiff simply alleges preliminary discussions regarding a resolution that would result in
extracting the Parties from each other’s lives There was nothing improper about these efforts on
the part of the Bolhouse Defendants and even if there were, because no resolution was reached,

no damages were incurred and F’laintiff’s claim fails
|V. CONCLUS|ON

Plaintitff’s Compiaint, when read through an objective iens, reflects nothing rnore than an
attempt to exact revenge on those he believes have wronged him over the course of the last five
years The Bolhouse Defendants’ motion should be granted, judgment on the pieadings entered,

and the issue of sanctions expressly reserved against lVlr. Rudd.

Respectful|y submitted,

Dated: October 30 2018 Bolhouse, Baar & Hofstee, P_C.

 

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